Case 20-10036-CSS   Doc 39-2   Filed 02/11/20   Page 1 of 3




                      EXHIBIT A

                    Proposed Order
               Case 20-10036-CSS                Doc 39-2         Filed 02/11/20         Page 2 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


                                                             )
In re                                                        )     Chapter 11
                                                             )
TOUGH MUDDER INC., et al. 1                                  )     Case No. 20-10037 (CSS)
                                                             )
                       Debtors.                              )     Joint Administration Requested
                                                             )
                                                             )     Re: D.I. ___

           ORDER PURSUANT TO BANKRUPTCY RULE 1007(c) EXTENDING
            THE TIME TO FILE SCHEDULES OF ASSETS AND LIABILITIES
                   AND STATEMENTS OF FINANCIAL AFFAIRS

                 Upon consideration of the motion (the “Motion”) 2 of Derek C. Abbott, Esq. the

chapter 11 trustee (the “Trustee”) for Tough Mudder Inc. (“Tough Mudder”) and Tough Mudder

Event Production Inc. (“TM Events” and, together with Tough Mudder, the “Debtors”), for entry of

an order (this “Order”) pursuant to sections 105(a) and 541 of the Bankruptcy Code, Bankruptcy

Rules 1007(c) and 9006(b), extending the time within which the Debtors must file the Schedules and

Statements, as more fully set forth in the Motion; and due and sufficient notice of the Motion having

been given; and it appearing that no other further notice need be provided; and it appearing that the

relief requested by this Motion is in the best interests of the Debtors, their estates, their creditors, and

other parties in interest; and after due deliberation and sufficient cause appearing therefor;

        IT IS HEREBY ORDERED:

                 1.       The Motion is granted as set forth herein.




1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845). The Debtors’
        address is 15 MetroTech Center, Brooklyn, NY 12201.
2
        Capitalized terms not defined in this Order are defined in the Motion.
              Case 20-10036-CSS          Doc 39-2     Filed 02/11/20      Page 3 of 3




               2.      The deadline for the Trustee to file the Schedules and Statements is extended

through and including thirty (30) days after entry of this Order.

               3.      This Order shall be without prejudice to the Trustee’s ability to seek a further

extension.

               4.      The Trustee is authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

               5.      Notwithstanding any Bankruptcy Rule to the contrary, this Order shall be

immediately effective and enforceable upon its entry.

               6.      This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Order.



Date: _______________, 2020
      Wilmington, Delaware
                                      THE HONORABLE CHRISTOPHER S. SONTCHI
                                      CHIEF UNITED STATES BANKRUPTCY JUDGE




                                                  2
